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                      IN THE UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA

________________________________________

AFFINITY FINANCIAL CORPORATION and,                 §
WATERFIELD FINANCIAL SERVICES,                      §
     INC,                                           §
                                                    §
       Petitioners,                                 §
                                                    §
vs.                                                 §
                                                    §
AARP FINANCIAL INC.,                                §       Case No. 10-2055
                                                    §       Hon. Ricardo M. Urbina
       Respondent .                                 §       United States District Court Judge


             PETITIONERS’ MOTION FOR ATTORNEYS’ FEES AND COSTS

       Petitioners, Affinity Financial Corporation et al. (collectively referred to as “AFC”),

pursuant to this Court’s Order of July 1, 2011 (Doc. No. 14), respectfully request that this Court

enter an order awarding AFC its attorneys’ fees and litigation costs incurred in successfully

affirming the Arbitration Award obtained against Respondent, AARP Financial, Inc. (“AARP”).

In support of this Motion, AFC states as follows:

       1.       On February 11, 2009, AFC filed its Demand for Arbitration before the American

Arbitration Association.

       2.       On July 26 through July 29, 2010, a full evidentiary hearing was held before a

distinguished panel of three arbitrators from the American Arbitration Association at the offices

of counsel for AARP.

       3.       On October 25, 2010, the American Arbitration Association issued its Award in

favor of AFC in the amount of $2,750,000.00.
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       4.       On December 1, 2010, AFC filed its Petition for Confirmation of Arbitration

Award and Entry of Judgment in this Court. See Doc. No. 1.

       5.       On December 15, 2010, AARP Financial filed its Motion to Vacate the

Arbitration Award. See Doc. No. 3.

       6.       AFC and AARP then briefed their respective positions between January 10, 2011

and January 25, 2011. See Doc. Nos. 8, 9 and 11.

       7.       On July 1, 2011, this Court entered an Order and Memorandum Opinion granting

AFC’s Petition for Confirmation of Arbitration Award and Entry of Judgment, which also

granted AFC leave to file this instant Motion with the Court for an award of reasonable

attorneys’ fees and litigation costs. See Doc. Nos. 14 and 15.

       8.       From October 28, 2010, through June 30, 2011, AFC’s counsel spent a total of

76.31 hours in litigating AFC’s Petition to Confirm Arbitration Award and AARP’s Motion to

Vacate Award, for a total of $22,095.38 in attorneys’ fees. All time charged by counsel was

reasonable and necessary to this litigation, and each of the counsel’s rates are reasonable and

consistent with lawyers of similar experience in the District of Columbia, in performing similar

work. Save Our Cumberland Mountains v. Hodell, 857 F.2d 1516, 1525 (D.C. Cir. 1988). See

Exhibit “A,” Affidavit of John D. Clayman, and Exhibit “A-1,” Laffey Matrix, filed herewith

and incorporated herein.

       9.       From February 2011 through June 2011, AFC’s counsel’s paralegals spent a total

of 0.83 hours for a total of $83.00 in paralegal fees. Paralegal fees are properly reimbursed in an

attorney’s fee motion. U.S. v. Waksberg, 942 F.Supp. 40, 44 (D. D.C. 1996). All time charged

by counsel’s paralegals were reasonable and necessary to this litigation. See Exhibit A.




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       10.     Costs incurred in the action are compensable as part of an attorneys’ fee award.

Salazar v. District of Columbia, 123 F. Supp. 2d 8, 16-17 (D.D.C. 2000). The total amount of

taxable costs is $1,031.44, which consists of the following categories of taxable costs: (i)

$350.00 in filing fees, (ii) $7.28 for postage fees, (iii) $16.80 for travel/mileage fees, (iv) $1.76

for Pacer Research fees, and (v) $655.60 for Westlaw charges (computer research charges are

properly part of a reasonable attorneys’ fee award). Role Models, 353 F.3d at 975. All expenses

incurred in litigating AFC’s claims were reasonable and necessary to this litigation. See Exhibit

A.

       11.     The fees and expenses sought in this Motion were recorded in contemporaneously

kept and sufficiently detailed time records. See Exhibits “A-2” and “A-3,” filed herewith and

incorporated herein.

       12.     Given the complexity of the litigation and the dedication of time and resources it

required, the posture of AARP’s adversarial responsive pleadings and the renowned reputation of

AARP’s counsel, and the $2,750,000.00 award successfully confirmed, the attorneys’ fees

submitted herein are very reasonable. Efforts by and among AFC’s counsel were well

coordinated, and there was no overstaffing or duplication of work.

       13.     The total amount of fees and litigation costs sought by AFC is as follows:

 No.                   Description of Item                                  Amount
  1          Attorney’s Fees Incurred (76.31 hours)                        $22,095.38
  2            Paralegal Costs Incurred (.83 hours)                          $83.00
  3                    Litigation Expenses                                  $1031.44
  4       Additional Time Anticipated for Preparation of                    $5000.00
                  Motion (to be supplemented)

                               Total                                       $28,209.82

       14.     AFC is anticipated to incur an additional $5,000.00 in attorney/paralegal fees for

the preparation, filing, and argument of this instant Motion.

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       WHEREFORE, for the reasons discussed above, AFC respectfully requests this Court

enter Orders: (i) summoning the parties to oral argument upon the instant Motion if this Court

deems testimonial evidence necessary for a determination of a reasonable award of attorneys’

fees and costs; (ii) granting its instant Motion for Attorney’s Fees and Costs; (iii) awarding

Petitioners their reasonable attorneys’ fees and litigation costs incurred in the total amount of

$28,209.82, as set out above; and (iv) for such other and further relief that this Court deems just

and proper.

                                             RESPECTFULLY SUBMITTED,


                                             /s/ Ulka Patel Shriver
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                                             Counsel for Petitioners, Affinity Financial
                                             Corporation and Waterfield Financial Services, Inc.

                                CERTIFICATE OF SERVICE

        I hereby certify that on the 29th day of July, 2011, the foregoing document was served
electronic means through the office of the Court Clerk for the District Court for the District of
Columbia:

Jack McKay

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jack.mckay@pillsburylaw.com


                                   /s/ Ulka Patel Shriver
                                   Ulka Patel Shriver




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